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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Matthew Kaufrinder, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:16−cv−02622
                                                         Honorable Elaine E. Bucklo
Anselmo Lindberg Oliver LLC
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 22, 2017:


        MINUTE entry before the Honorable Elaine E. Bucklo: This case is dismissed
with prejudice in its entirety pursuant to FRCP 41(a)(1). All pending dates and motions
are terminated as moot. Civil case terminated. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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